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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                        Criminal No.: 21-CR-108 (2) (PAM/TNL)

 UNITED STATES OF AMERICA,              )
                                        )
                             Plaintiff, )
 vs.                                    )        MOTION FOR DELAYED REPORT
                                        )        DATE & REQUEST FOR IN-STATE
                                        )                PLACEMENT
 TOU THAO,                              )
                                        )
                             Defendant. )
                                        )




       Mr. Tou Thao (“Mr. Thao” hereinafter) respectfully moves the Court for an order

allowing him to self-report at a later date should this Court sentence him to a term of

imprisonment.

       Mr. Thao respectfully asks this Court that should he be sentenced to a term of

imprisonment, he be allowed to self-report on a date sometime between Christmas and

New Years Day (December 26, 2022, through January 1, 2023). The State prosecution

team is still moving forward with their case against Mr. Thao for the same actions

underlying this case. The State trial has been scheduled to begin voir dire on October 24,

2022, and opening statements beginning on November 7, 2022. In an Order dated June 22,

2022, it was ordered that the State trial be finished and deliberations begin no later than

December 16, 2022.




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       Mr. Thao respectfully moves this Court to allow him to remain out-of-custody in

this matter for the duration of the related State trial so that he can easily meet with his

attorneys and aid in his own defense. Knowing that deliberations will begin no later than

December 16, 2022, Mr. Thao believes a report date between Christmas and New Year will

allow sufficient time for a verdict to be returned.

       Additionally, Mr. Thao respectfully asks that if he be sentenced to a term of

imprisonment, this Court make a recommendation for him to be placed in the facility in

Minnesota, including but not limited to the FPC Duluth facility.




Respectfully submitted,



Dated: This 26th day of July, 2022                /s/ Robert M. Paule
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